

Matter of Earls (2024 NY Slip Op 05755)





Matter of Earls


2024 NY Slip Op 05755


Decided on November 15, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 15, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., OGDEN, NOWAK, DELCONTE, AND KEANE, JJ. (Filed Oct. 29, 2024.)


&amp;em;

[*1]MATTER OF KRISTIN HAGELIN EARLS, N/K/A KRISTIN HAGELIN KENT, AN ATTORNEY, RESIGNOR.



MEMORANDUM AND ORDER
Application to resign for non-disciplinary reasons accepted and name removed from roll of attorneys.








